Case 8:04-cr-00374-JSM-AEP Document 458 Filed 10/05/10 Page 1 of 6 PageID 1057
Case 8:04-cr-00374-JSM-AEP Document 458 Filed 10/05/10 Page 2 of 6 PageID 1058
Case 8:04-cr-00374-JSM-AEP Document 458 Filed 10/05/10 Page 3 of 6 PageID 1059
Case 8:04-cr-00374-JSM-AEP Document 458 Filed 10/05/10 Page 4 of 6 PageID 1060
Case 8:04-cr-00374-JSM-AEP Document 458 Filed 10/05/10 Page 5 of 6 PageID 1061
Case 8:04-cr-00374-JSM-AEP Document 458 Filed 10/05/10 Page 6 of 6 PageID 1062
